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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

DEANNA MCCAY,                                           No.07-40049-DRH

Defendant.

                                    ORDER

HERNDON, Chief Judge:

      Before the Court is a motion to continue trial submitted by Defendant Deanna

McCay (Doc. 110). The matter was currently set for a change of Plea on January 8,

2009 but the Defendant received the Plea Agreement on December 30, 2008 and

states that there are issues involving the relevant conduct to be assigned to

Defendant and the Defendant and Government are in negotiations to arrive at an

agreement. Accordingly, the Court finds that the trial should be postponed because

the Defendant and the Government are involved in ongoing negotiations concerning

a possible plea agreement. In addition, the Court finds that pursuant to 18 U.S.C.

§ 3161(h)(8)(A), the ends of justice served by the granting of such a continuance

outweigh the interests of the public and Defendant McCay in a speedy trial because

failure to grant a continuance would unreasonably interfere with the current plea

negotiations, which if successful would serve all parties’ interest in a just and

efficient outcome. Therefore, the Court GRANTS Defendant McCay’s motion to

continue trial (Doc. 110) and CONTINUES the jury trial scheduled for January 12,
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2009 at 9:00 a.m. until March 30, 2009 at 9:00 a.m. The time from the date

Defendant McCay’s motion was filed, January 6, 2009, until the date on which the

trial is rescheduled, March 30, 2009, is excludable time for the purposes of a speedy

trial.

         Should either party believe that a witness will be required to travel on the

Justice Prisoner and Alien Transportation System (JPATS) in order to testify at the

trial of this case, a writ should be requested at least two months in advance.



               IT IS SO ORDERED.

               Signed this 8th day of January, 2009.

                                               /s/     DavidRHer|do|
                                               Chief Judge
                                               United States District Court




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